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ON TIED STATES Dasreict Coory
SMOIHERR WLiSTRLCY GY TL WNOoLS

 

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ness TORnsad ¢ CASE NOVY. VR-cN THAR),
PLATE EY ifm
NS File *)
ALAND LS DEPATETME TT , D
DF ! CT go.
CORRECIIoaB @+ Ov | soureRK, Ug 5 ng
DEFENDWIS, ' Easy SOISTRoT Coup,
Ours OF Rak! NOig

FLRST AMERINERY COMPLATALY

 

NOW LOMES PLALATIEF MR SaAmes “Talltsond PRO SET Wig Eire te
RAMERDED CAHMPLOLEN .

A. TNTROOCTAbN

1 TWis Ss A Ctl Action AUTHORIZED BY 42 US.0.SEeTO I9@2Z TO
REDRESS THE DEPRWATION, UKDER COLOR BOF STATE LAW. OF RIGHTS secured BY
THE LORSTToTiod DF THE UNITED STATES THE PLAINTIFES ELGHT AMENDMENT RIGHT
UNRER WG UA. CONSTITUTION UaS ViDLATED G4 WE DetenDaxkryS USE ar
EXCESSWWE FORCE ARDI OR ACTED uit DELABERMED ANDIEFERENCE Th PLANE
SEROUS MEDICAL NEEDS .

V-TAAS COMPLAINT MSo AKEKS Th telress SENeR AL OTHEY. Visleno Ar
THE PLAINTIFES RIGHTS BY THE DEFENDERS |

Aue TE WHE CONTSUATLON Re ARRAS UT AS TTHRERTS, OE
RETRUARTION TWAT Wee tTens THE CLAMTIE ES SAFETY G4 Vow eT DANGER
AF SERIOUS PHASICAL AUR AT THE Hawds OF The Degen dean<s rotsfor #
DIMER EMPLUYEES POreiciALs AY Mewar CoMREZTIOS, THE PLeduvice Reduest
TE CIARATILI FEULEF PURSUANT TD 26 S.C, Stevie Aa2ei AD SOR, DUARTE
RERVEDT | FoR in AUNCT Vg Keer BM PREWLTHIO OF TEMPERARY RESTRAINING,
CeDeR. THE PLAINUEP SHLULD BE TAVMEN ATELY WRAGSTERKED VO AMSTHER
ot eve, ~ ISN firey is -. ~ apa 9
TRC Y Tb PREVEST Wim FROM NOY FURTHER Gwilotu Ly
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TL. Poiwnice
H.PLOUNTIEE MRTAM6S TORRSOWLSS AND WAS AT ML TAMBS MEN TONED

WEREUW A PRISOHRR of THE StRTE OF ALOIS iW THE COSTADY OF THE TLLthais
DEPARTMENT OF CORRECTIONS. UB ‘in CurReNtt A PRiawaleR AT MENARD CARREZTIONS.

ID. DEENA S

5. DerendanT Toul Babul, is Ma bivectoR pe He UL feoia DePATIMEWT
OF URRECTL OWS, WE NS RESPONSIBLE FOR Pouiciss Pur TW Paced Ae CORRECTIDIALE
CENTERS Th THE STATS OF TLL Tools, med purr aeetues EVERY PRISON TA
AWE TLAROlS DbepactIMeuT pr “LLLOwois Mrsuel THE AMMINISTK ATION
GRIEVANCE PROCEDURE. HB URS PERSONALLY SfGW DFE ON @eTaveuce’sS DERLI

WITH THIS COMPLAOYT, Wis DELIBERATE “LNDIFFERENLE, HAS RESULTED Th RAD
LOMUNUES “Th CLEAR NI bLoTIONS DF THE PLARITIERS Riaut’s, MAKING Him

LEGALLY UAGUS TW THE Court SF LAW,

b, DEFENDANT RaWDY PFISTER, WAS TME WRED|A OF stereviLle
CORRECTIONS, He ts LEGALLY ResPONeteA FOR THS DPPERATIONS NC STTEVILLG..,
AND THE WELFARE bE ALLUMMRTAS THERE.

. “1 DeFEWDAWT WACAUELINE LrsuRenok, (S ME WARDeN OF MENARD
CORRECTIONS, SME TS LEGALLY RESPONSIBLE FOR THE OPPERATIONS AT MauAP DS,

AND THE WELERZE se ML WMATES THERE
B DEFENDANT <TaWiaur AS WWE MERE CAL WivezTor AT MENARD CORRE TCONS

WE AS LEGAL Linalo TATU tootT BF LAW, DUE TO His AcTiots 4 th THs

COMPLAALET,
2 DETENDAUT NESE YAWAWS, NAWE THOUGHT Hous DRE susEn, 1S AW.

ASSISTANT TD DEFENDANT MEMICKL NWeeetor Bpptad SHB AT ALL Times MOWToldd
Th Tis COMPLADT MBL AS A NURSE er MEW CORRET nS,

ib. DEFENDANT NURSE RERNA ENGELACE 5) TS tA NURSE RE Weed
CORRECTIONS. SUB RT ML Times MENTIONED Wt THis LOMPLALAT, VELD AS A URGE
KY MEWRED Coverecyipnrs,

11, DEFEWDANT MA AoR. CHAD HASSELMEYER, T&R MASOR AT MewARTS
CRRRELTIONS, HE WAS THE wiclor WW CURR OF US cell ExrRAcTioN WATS

Mat ores ON WWE WW? SWIFT oF Auwe 2A. X17.

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Ve REXEMAGNT MOTOR AGU CARTER TATE MAGE AE ALL. SECURITY
DPBRRTIONS MEW LOSED HEREIR AT mMesat WE is ALAC. THO MBAR OF MER DS
ORANGE CRUSL. TS IMG moti CF AGRE Ab17, WE WAS IN CHATLE GF CELL:

AMrAttion WS Mew. WD Forcep Wate Cots Musi foe Bh Peoves BY Ae:
ARO WEDD Wc Gor LARS LASIAPOK

(A. DEFENDANT MMB WTTTHOET Is A Liestexaget AT MENARD Ih THE
WER BE Gee 2617, AWD ALSE WPS WW CHAREG OF CELL Extractions APPERATI A!
AY ORARGE Chusel TA CELL House NL SEGREGATIGSA ONT LGHEKE EVEnITS
GWING Rwise Th Wese CLAWS CCLURKED.

WW. DEFERDAWT LQcle RE RG. IS A SERGEWRLT AT MEN AGE LORRECTIONS
TN WHE Mb BE Auwe A0\0, Wrouctl APRLL CE Qb(@, HE Lotes SE RGEAAY OF
KA SECKREGRTION UNIT.

15, METEN DEH AONE, VS AR SERGERNT RAY Meet ¢ CRPELTIOUS, HE Boas
GO POISTACT ARITA TRE PLAWMER WWE EMENTS CWING RAGE To CLAWS
TWAT CCCURRED .

te DETENDAR KYLE A BRORLEL, VS Kh CORRESTION AL BEFICER. DE THE
TVS DEPARTMENT OF CURRECT Eo, WELL AT ALL TIMES WERTIOSES iW
THis COMPLET HELD TIWE RARE OF PRIGEY GORLTS AND WHS ASSIGNED Th
ALLOY. SAWIE PRISGR:

Vo DetE ie TIC ME Ca LEf AS A CURREET Lowe OFFICER DF THE
TUES DEPRRTMENT DE CORRECTIONS. WHO AT ALL TIMES Mention Ww THis
CoOmPLAIRT, HELD THE RANK BF PRISON BURRD AND WAS KSSiGNBD YD
a\."reis Stent Petsan. ;

\Q. DEFERDEST WESLEY ENGELAGE, 1 A CORRECT DQAL OFFICER OF 1 UB
T\\Qntig DEPARTMENT OF CORRECTS, WHO AT RU TAMesS Mesos wy
TTS COMPLAINT. HELD THE Rik OF PRISON GUAR AND wos ASSIGNED TO

TANMIS STRATE PRs. |
VA NREEND AW WWE, AS A CoreeeTioya DFE ICER Of ME 4ULpsots
1 Mes MautiodeD W THIS
EDATTMENT DE CORRECTIDNS, WHO AV ML VK
OMPURTATT HELD THE RPK nt PRISOA GDRED AMD WAS ACSIENED WO 2b Ltwars
ah DEFENDIWT BHRLEFIN. IS A CORRBCT DIAL DFFICER OF

DEPARI MENT DE CheRrettionae WD RT ML TiWes MENTIOW EOS

We “LLU wos
SA THs

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COMPLAWWT. HELD THE RAK oF PRism\ Guaeb AWD WAS ASSIGNED
TH ALSWOS STATE PRISON,

A DEFENDAWT DUbWSKk’, tS & CORRECTIDIIAL OEEIZER OF THIS

TAWADIS DEAT MENT OF CORRECTIONS, WHO AT ALL TIMES MewTlonsD Wh
TAS COMPLAINT, HELD THE RAK DF PRISON GoArd AND URS ASSIBIED To

TASS SITE PRISOW,

2. DETEADANT RA Doe ALIS A CORRELTIDARL OFFICER OF THE
Tadic DEPARTMENT DE CORRECT IDWS, WHO AT ROL Ves MEWTLONED TN
TDS COMPLESST WALD THE BANK OF PRistl GORD AWD US ASSTONSD TO
TAhime BRE PRISON,

4 DEFERDeWT JOUN DOE DW, 16 A CORRECTIOWAL OFFICER OF THE

TAAL DEPAZTMEMTY DE CORRECTIONS , WHO kT ALL TIMES MENTI OED
C TAs RDIMPLATWT, WELD THE Rak OF PRISON GUARD Add Une
ASMAGNED TD UMisihia STATE PRIso.

2. GERHA DETERDAWT ADWA DOG TACT Tew 41,6 A CORREcTioa
OCELHER OE THE Lithia DEPARTMENT DE CORRECTIONS WH AT ALL TMSS
MENTIONED Wn THis COMPLATETT. Had THE Ketk DE Priam fourkD fas Una
KAiGhsd TO iilsaAs STATES PRKISe-

he DEKEWDarr Tok DOE TROT TeRM*FO, ia A CORRECT ouwt
OEE (CER DE THE Luduaia DEPATTMENT OF CORRECTIDIS, WHD AT ALL Timed
NEYOWEDS Sd THis COMPLITTs HELD THE Tank DE PRISON Gontd AnD
WS ASSIGHED TO AU tes STATE PRISON,
SFERDANST bua DOG TACT TEAM *S, 1S A CORRECTIOL

  

No D
OF Ete GRR OF IVE TU Seis DEPARTMENT OF CORRECTIDAS » WHO AT ALL
AMES MENTIONED YW) THIS LomPLANT, HELD THE RAWK OF PRisod GuXRD

ANTS WAS ASSIGNED TO WAWDIS SWE PRISOR,

ay Vere auct AOWA DOE TET TERWLAY, IS A CORRECTIONAL
AEE\CER. DE THE LULincis DEPART MENT OF CRRRIECTIDNS, WAO RT KLL TIMES
MENTIONED YW THis ComPLAaiT, Heb THE BANK BE PRISON GUReD> AWD
WES ASSIGNED Th ULLtoois Sterne Prison,

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dm& DEFENDANTS ARC EACH BENE SUBD IhhivipoaLlh AND TW Ris
BAD) VER OFFICZAL CAPACITY. AT ALLL TIMES MENON IN Telis COMPLAAATY
EWU DEFEND wT ATED UNDER THE ColoR OF STATE LAW.

TN, FACTS

 

A. DW THE DATE OF MPM 21,2017, THE PLAC WITICE MR. TRESS
THUNSO, WIRS SENT TD ABOREGATION Wale HE Was UbUSeED AY STATEVICLE
CORRECTIONAL CENTER, FOR A HOME MADE WWE WekKET. THis PLAIWNEF

CONTACTED INTERATAL KEFRIRS % REQUESTED THAT THE ConiRABAND

AE, TESTED /AXD MADE OBIECTIOWS WD THE DIsciPLina@d NOT BEING ACCURATE.
NY TW. DE TONE VL. 20T7, AFTER BEING WWrowmMED BY PLAINTIFFS THEN
COUNSELOR MWS JBGUINS, THAT WS WOULD BE SENT TO NAENARD CORRECTIONS
OY Werden /DerekDawT Tan4 PFISTER, DUE iW PERSONALLY GOING OVER
PIRWEES TitkeT . COUNSELOR WEGEINS . WAS ON TUK PLARSTIFES ADAUSTMEAry
COMMATIEE AWD Heard Wis TICKST, ALONG With T BEST,

an, ARTER BANG WEORMED THAT Wate) RADU PFISTER, LAS

PERSONALLY Wn L twee ts THekeT. PLATTE EYED MA EMERGENCY BRISVANTES

GA FEAR DE Wis WELL BEING WUD BE WW DAWOER TE WS LORS TRAWSESRRED
TD MENARD, SEB KTPACHED GR eRHCe DD RESPDRSE BU DEFERDAW PRISTER, AD

eyiertt |).
2\ TN THE GRIEVANCE PLAINTIER PLEADED NoT ID BE T LPNS FERRED

Die TW Bis Wel Betwo WoULD BE iW Teoparby Ah Wis lire LIGULLD Re
Fy DAWOER, AT ME HANDS OF \MAOARD S PRISON GUARDS, FOR WARS RELIGIbUS

AELIETS . Tw

29 DUB TD THE PLAIWITFE REING PASTAFARIAY AK MAKING THES
NAZRITE VD TD WERE Wis Wate LONG WTS NATURAL Ese OF DREAD LOUK ,
AND MENARD PRISON NEE (MALS DIScRIMIWATING RGAINST BLACK PRISONBRS
WITH DREW LOCKS W WoLd PLACE PLAWWTIFE TR WinezT DANGER.

23, PLOSWTIEF REAVESTED Th DEFENDANT RANDY PristeR, Ih NY
KE TMKWERLED DUE TW THE kanes, OR WO BE TRANSFERRED “TO RWOTHER

Eackiry WOT MBWERD YOR WIS SHEET.

ay DereNdAST Few PFISTER IONDRED THe PLADATFES REPERTED
NIEMPT S Tw SWE Wis TRARSTER Ter HIS THR DEFENDANT Kart WOULD
OuT THE PLAINTIFE IW DRELT DeWoSR.

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AH ON THE DATE OF WWE 21-2017. THE PLAINTIEE, Laas TreasrerReds

MENARD LARRECLTIDAWL CENTER.
Ye. RS MSW PS PLAWTIFE STEP Fool oF THE TRAdSFeR Bus He

WR TOLD WD SIR OFF TD THE STE BH TWD UNkNDUnL PRISON GoweDs, THEY

STATED. Yu Kndod THAT WAT DF YoURS WAS Th Gb BDH” PLAWCTIEE TOLD THEM
TURT HE VS RASTAERRIAN ANTS BAD MADE THE NAZERTTE VOW AND Wid HaiR wad

KRART OE WIS RELAGiovS BELIEES/ Wat BE LIFE.

37. TMB TMLER GEA GoARD DE THE Two STRTED“' 1 DONT Give A Daw
A®ouT MDD BEG RRSTRERRIAN, THIS is MENRED THAT OHET GOT TD GO! kK THE
PLNITNIRE GOT WOIDE THE PRisoW, HE WAS THOK TD A RodM WHERE HE WAS
SHRED “W FROWT DE A GROUP OF GUARDS, WD DEFENDANT NURSE Teen ENRECRZE,
WDM, RLU STOP THANG, DSENDANT DULAIWIEN, STATED Cop Dawn “L DONE
SEW TW MUL A MONKEY WITH DReabLlock’’ THE RobM ERUPTED IW LAvGHTBR AS
NYRSE ENGRLAGE, RITEPTED Th Chun Wee FAB IW LavaltTeR.,

2% TMB DEEICERS ASKED THE PLAINTIEE T COT Wis MAR .WeE WED THSM
THAT CUTTING Kos Wate Us AGAINST Wis BELIEES. UE LAS TOLDETURT ONE
WAY DR ANDIHER THAT WRSTY ALT a Comin DEFY BU OFFICER Dabaiticd ..

AA PLATES WAS TREN Aho TD A SEGREGATION) CELLA 221, BY Bulan,
WD STRTEDS Dorn WE Kew TWAT WOU WSRRE Ch PLRZADY ml we GOT A
NEAR RAS WREPPI Luettdts BA LOU
UD THR NEAT DAY DONG 23.477, PLAITIFE Was TRKEN FROM Wis PHLL
OY Buwed OWA WCALER TD SEB Never Dal? Mater Dolla CAeieK , CRetRT “ALD Puantife
“TE WE NGREE To A Main COT. HE WOULD Mowe TAL PLAINTIKE FROM Betws Wis
STEEL DOU CHL AWD WH A CRLL WH BRES WOM GOD VENTELATION, AND Grd
Ad K STRTE ISSUED FAR we Tb I BEMG Sp WoT!
QL PLAINTIEF “WUD CARTER MRT WS WHULD Stat IW SRG TEN CUT
Wis Wate, WE MAD RERUBSTED “Th SPARK AD INTERNAL ATT MRS, POT Wis WSLL
Sie IW DANGEE BUE TO AT STRY AT MeEWPED.
UX. CARTER STATED! YU Wave NOTHING ConitG bNTILL You AGREE TS A
Wie CUT. oetrEeR, ASD SoM You Wave WD MbWDAY BF Aonng 26,2019. 16
PORE OR Tm COMine WD CuT YOUR Ware.
UB PLAINTLER BET BACK Th Wis CHLL#As) THE WeTeR Wah BEEN
TWRNED DES Bs CRLL. We FAUT THAT UE bee DED TD SPEAK To INTRICNAL
RTEMTS AD AE WAS TA FEAT FoR Mis SAaFETHU,

(1,
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WU Ty BRAG SOMES ATtRUTiOZ Th His URGENT SttuTtion. He DIP AW

EMC WoOTHPASTE coatatanR i His TolletT med ENLED TY wit WATER, AS
GUARD KYLE BRUM Lewes AD WESLEY ENGELAGE, DPENED Wis Fee Dose HE
Spr THBM wk wee. aw StaTeD “OL wee WD THK TO T/A HOD"

US WES\EY ENBELALE, stoteD ORE PuT SHIT OW ME DFEIcCe BRUM levs
STATEN THE LIL BICU GOT MB Tos",

Yb. PLAGE WUD THBM TAT IT WAS OWLY LATER BOOT BF Wis
Touset Tats xk.

U7). TUL SRD {bUR FUEKED NOLS More GUARDS CAME TD PLANNEEFS
DooR THRERTENTCS Wi, SERGEANT LINDENBERG, SORTED DONT CRY Likte th LIL
AXTt WHEN WE GET WU. ALOK CAME WAOTL CRRTRTC, Ullb STARTED VMS OU
COME TD WME DOOR WD Cure Oe"

4D, PLALTTEE TWD CARTER THAT HE WAS ONLY CHEFIG UP For D/A oz
KRING CRUGK. DUE Td THBM Haut CAMERAS SO THAT NOBODY WOLlD ASSAULT
im .

U4 CAVTRE. TRLD A Gort STANDING BY Ths PLADNIFES Door WHEN

(ADE LOU THE WorRD IPRAY THE WoL COLL WHE POTTING TD THE GorkdDS
Can SE ParpeR ArZATt.

Gh. DereWDANT Tacoueling LastBeowk, Came To THE Cel Doesk® AWD
ani he TeMtSo Tlm THE WREDEN WHATS GOW ows.

AL. Plawwmiee WUD Wer WAT HE LIAS Su Fear For Wis LIFE AWD
WRRTED TD SPER WITH LIK ARD HeEk OFFITERS WERE THRERTENTNGE Wow ANTS
DENIED WML OF SPERKENG Th Ala. Due Th Heir AtTaWws HE LIS KFRAD
VO Cute UP.

BL, LASHRROTK, THLD PUMtANTEr THATS NOBODY is [OWE Wo Tort 4ou

“L PROSE bu SEE THE GAN DUR THERE UOLDDsG THE CAMERA HES T/A Coms
AND CUFF UP Sd You Cel TRUK TD Wim”

. 5 PLOSHTTEE CUFFED DP AND NMILE WE WAS BEING EStoRTeR OM
NEELCERS LAStBrong wes satitaS in RIGHT Wate MR LOMASOR, NOBODYS
COOG To WOK “ow

SY. RULORDINS TD WITNESS KEAT WEST, SBE Wis AEE MaviT, He Heard
LRAHBROUK, TELL NIALOT. CARTER MAKE SURE HE DNDER STRWDS THAT WONT BY
TDLERATED OWCE L Lewe”

65 PLOSWHEE UPS PLACE WA RAMALL RoOML WITH GLASS Doors

HME SPOKE “Ib A SBRGEAST FROM T/A, HE TWD THE SEKGEANT Wat WE CouLD
NOT CUT Ulo HAIR Dug Th Wis Belicin. Md ANOTHER Stations Dug TW TWeSe
\OSUBD HB WAS DI FEAR OF His UTE.

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Si. THE SERGERNY FOR T/A TLD PLRTAMEE He stouLD Hae WEWwT
ROOT Tis sttowtiod ANOTHER WRU Aw Stok WIS WAND.

S71. ARTER THE T/A SBROBRLT LEFT, A MENTAL HRT Mod Came DO
TUE ROU AWD SPOBE To PLAAITE. AD THE PLATETFE TLD Bin THE WE KiededD

WRLO Eo@ FRae SF THE OEFILERS.
SRR QURSE ENTERED THE ROOM AYTEK AND ThOK AIS BLOOD PRESSURE

MAD “WWLD THER SEFICER WELLER, WES Ged Tb oS Wh A ails Ov HER FACE.

FQ YEEEUDENT MERLE ThOK Wim We THE Hall WHERE SeveRat
OEELCeRe WERE WO WD Wim Td kkEP Wis HERD Poulin Sd WE COULD NBT

ADENTIEN THEM. |
LO .NECALeR, WOKED WHERE Do YOU WaT tint), aWOTUER BEICER STATED.

“OyT TWAT BITCH Wd THERE”
bl Metres, Took PUinTLEE IN ANOTHER Room WITH GLASS DOCKS
WERE DEFEDAUTS WESLEY ENBELAGE, KYLE BRUMLEVE, SERDERNT LiuDEN BERG,
SEROERUT VOWES, ATS TWD UND DEFICERS ENTERED.
Wi .beEIreR Jou Moiese, UTAS Woid® PUawitre G4 tS CUFFS

ABWIED Wis Bark, NETCER WESLEY ENGEL KGS , STATED TD PLAtIRE Ee! BZ” MSD
UAT A CLLSED FIST Punthed THE DISDOTEE W Wis ERce. MLL DE WHE BFRICKRS

TRIED Td Pont Wid aa KNEE PLAWTIFE UNTILL Us Fail pa THe FLDOR.
LS DERRIDA “SOUL NELLeR, WAS PUNCHING WOM Aa THE BALK AWD

Ribs,
Ge EEE AWT WES ENGBURGS , KICKED PLWTLEE TW Wis Laer ere

We WE WRS DTW FLOOR Coustite, RT Th STRET Bist 0st LOVLDLN Pwd id
ORAS WT DW TW NL DBE TRE BEFITEZS Akiva Aad Punthnre Mem -

BS .DLAWTIER WOKE DP BY Belle SLAPPED IW Face Hi SEROERWT
“TONES AND WAS COLLTG WIS NRE,

lo. OWE WA WOKE UR WAS ASSRULTED SOWIE MoE, WHILE WOK
Place > Wes YW MLL THUY LAST Time Le WOKE TO SERBEYWT YOURS, AWD THE
RESt OC THE Vetedent’s ISPEICeTs BREATHS URED.

G7 PLATE COULD FREL Blood RuWWine ould His FALE FROM
USS, CR BLT WHICH WAS SILL Cinbine, WHE SERGE RN A DEES, STATED wilsérl
Ta WY BOY AWD Twn WRK Yb LIFE Wa: UtLaow. lo THE NAME BE hk Mate WHE
PLATLARET WED BREN Weve PROBLEMS att .

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LS. PLESUATEE BLY BER Lear SBRREAWT TRUE AWOTER OFFICER
TURT WELSOA URS Vis WorkeR Th TS Post OW 5 GALLERY.

— GASERESMIT “THWES TLD THs DEETCERS To COWFISCRTS ALL DF THE
PUMNTIFES CLOTS AWD Shows.

TOWHEN PLACING THE Bod CUFFS PD SARCKLES Beck on THEY

WMBTE GD TOUT TKRT THEY CUT OFF BLOOD CIRCULATION AKD LEFT SBRES OW
PLGEES WIRISTS AND PALES, OLADTIEE COMPLATH Th DEFENDAASS WHD TOD

Wim Ty SAT UP.
FL. WoRING TWESB ASSAULTS PLATKTTFE DRIMATED ON Wis ABLE, HS

MADLUDd BRREL WRLK oN His, bio BS We WAS PLACED “Ww A Wee CELL FOS

TAs CELLS PDUDITDS WARS WHoMAare AND ABUSIVE, THERE Lass
Wi NATRESS TB SLEEP ON, Nd SHBETS / ND BLANKET, NO TUNNING UNTER, NOR AWY TOILET

PAPER,
43, WE PUNWEEE BAD ND CLOTHES O& SHOES, OWLY HIS BOER UNDER

WERE .
TH PIMUER MID HUBER ‘Wnts CAULED FoR Spee Kod DE MEDICAL

Arve FOR Wes WIURY, BUT ALL DEFICERS RMD MEDICAL PERSONNEL “TEN TOW ALY
CANORED THE DLATMTEEE, ast THE IMRTES WD WERE Ravetwe AK Kk DW
Tei DOO’ .

75 .Lpxb@ TUAT NIGHT A THE V7 SbRET A OTRCT Tem RAN VWta

PLINGIEES CELL PRD EXTRACTED Wim FSR ND CEASDN.
“SUP WO OWT AGKOAL Took TD A STRATEGIE BLIWD SPoT UP STRURS
Th THE POMS WITH GLASS DOORS MAR AT, HS Tic, TIME WB LIAS TRKEN Ta A CADE

CEL.
Th DRAKE WAS SEER BY A LODMZN NURSE WHS ONCE PORN RK Wis

ALD PRESAORE AKD ToL WE OFFILERS Wes BM,

a Tie, TWH PUNKATETS FALE WAS SODLLEW Bad BIS BODY
PoukED WW BAIGES Mid ABLACAONS, WE BSKED Wis NURSE Fo@ WELD. AWD SNRAS

TD AB A TACT TERM NERILER “Th SOT bP AND KER Wis KBAD Ubu .

7% WHIT DERERDAWT CRAD HASSELMEMER STATED “MD DME ALL OF
Tig Puiists WP MU ORELCERS EATING Tw? WES AL YppeS! To WE TACT TEAM
WUD ALL. STAZIED Powthiue ts Ki, UNTIL HE PASS Dut.
TA PLATE WOKE UP BES DRAGED Dood AdMs STARS HE
TNT DETICER WOOT Win OP BY Kis Rens STATED PICK 10 FEET OP Pad WKLK
AETEZE YDU GET YOUR eA KickED Id msZe"

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BO.WHEN THEY REACHED CRLLA IVI, THEY WES PLACING PLAMKIFE

AW TMB CELL WOE nalom YnsSeuMeder, STRED WOU UP TAKE WIS UNDER LEZ”
THS Tact Tahim OFETLER REMOVED THE PLATES sttackles AWD TOOK DEE
BOERS. Pwd PUSHED THEM To THE Loe Ll WN THE GALLERY Were THEY StRUeD
FoR DAMS, WHICH 6 ALL CAPTURED OW GALLERY SURMEYLLANTE VIDED.
BLPUMNTEEE WAS PLALED Bek {CELLED LI weclt is WhuMANy
MSD LW COMDETIONS AVE ARUAINE Due TD WS Lib S STAY Od Q4-7 CAUSING
SLED DEPKation » MARNE (T ALIMEST IMPDSSIALE Tb SLEEP, AS SOMES KAD OF
WAR LIKE TACTICS, KLDNE WIT THE DHE 1SSUES MENTiodeD.
AA.OW DR AROOWD b ASA) THRoOVEH b-AK-V7. A NURSE NAMED
EVALWRETH, DELWERED SOME POWDER MEDICATION PREaCIIBED Vo PLAINTIFE
Ot MEDICNL aT atereville LATOYA WiLLians.
BA. NURSE ELELRBETH, WAS RES BSCORTED BY OFFICER MORRIS,
WWE ASRS SPEED THR PUATNITES FOOD, NUTGE ELIARETH DumeedD BACK
WHEN She See PUITOFES Fate,
BL SUE SWRTED wet WAPRAD Th UBUD. PLAWMER Std! THE GUARDS
QT WIS NEFICER NORRIS STATEDHES OK” Nutsd ELT2ABe STRTED'. DROP A
elk CALL SUPY END Deer TUS POWDER iW THE FOOD MOLE.
BS.ON THE DATR DE AUNE 2b'2DI7, THE PLAWTIEF WAS SLEEP ON THE
ELOKZ HE WS CELL WE NOT WAIN WAN BED OR BEDDIME WHILE US WAS STALL NUDE.
Bo LHERRD WE DEFICRS SeMYete (rs The Eo adME ACTION”
SNE WARTE SoD “PELL 3. BB CAREFUL CRUSE TWBY WEL KT YOU LIL BRSTHER"
OT PUMICE THEN TMEDIRTELA GOT TereiFieD AND WAS 10 Rar,
WS BEND Deterdawh MATTE AsW CARTE, SIRTE TOURS CSM TO WE Pow kW
CUEE LP Ws WMS FOR NOUR WATT CUTS AND TL Doh WAKT “To HERR SHIT AROWT,
Yr BEETS ANDTHER SEELCER STRATED Wis in MEWRRD FULK NO BELIETS
B®. PURGITIER WAG FARR DE THESE DEFENDANTS KAUe OR
WUETG Wink Mor. Sp WB ACTED AS TE HE COULD NOT WRLK Due WD WS PREN OUD
RSARULTS |
BCL THE TET TEAM Hed D BS CKLL WE WAS PowtHed itd KNERD e
Few TABS DUCED WA A CHAAR WHR Wig WANS COFFED BELIND Wow Sd TEM WEY
CUT OTE BLOSD CRCOLATION Th Wis WRIST AWD bokles.
Gp. WS STRAPS DN WS CHAIR WERE PULLED “KBUT ARDIKD THE PLATE
Payiio Vis sents wb GO NuMB, WE WAS STILL NUDE. do A ApMeSuty DIAs Pace)
AYER, PLAUNTEFES Loudats.

(10.9
Case 3:18-cv-01374-NJR Document 19 Filed 10/03/18 Page 11 of 25 Page ID #91
QL DEFELTROLT DODUASKL MADE LuKES AS WE PoMed THE PLATWTIFE

C

WW TWE CURTR, PASS WOMEN DFFLLERS STATING! DoT WORRY LADIES “WS OWLd A
MYTH ITS NET TMT BICY WH UE AND THE Wowed MLL Laue.

- OLPLMACEE WAS TRE TD THE Hert CORE UNTT, WHERE HE LIAS
SEW GY DOCTNR [DEFENDANT MEDITWL Birectoz SIDDIQUI, WHO STATED WHATS

THE PROBLEM. |
0 DEVATDALIT NURSE BSE STATED HES OK, Ved A SMT THROWER

THT TERM DEFILERS CaMMPRELL/ PHILLIPS J AND DUD WA, THRERTRD TD PLRDATEF
“VE MOUR WG Louk Gere WD UNS YOU WeZE PARALYZED CRAPBELL SAvD
ASS AS TRE SHRERS SHOUK THEIR HERDS TW ABTEEMeNT. ;
O4 SED OS) RED WMT HAPPEN) TLACIIPE STRTED SMe OFFICERS

Beat Me UP |
as WUE SUSI) SMALRED HER LIPS, AWD Tok A DEEP Brew.

DLMINIFE TOLD BST SOVLAG AWD NURSE sysen) THRT Wis HERD URS WUC, awD
WE WAS DIZ His NBS WERE YurtinG Pep “HAI UES EXE URS BLEEDING, HE

\roniitiwG we BLOOD.
Ob TWESS WEDICAL OFFICIALS Gave HIM AKAM, DeRetbansy
dr CHB STE WoSPTL

Soar, CALLED Wom “WWE PLAMTIFE RALENES TW BB A DWETN
MO SAD WD ARZ WS OW THE SHER EVD Be We PHDIe! LTAARK HES FAKE?
ROOM, DEtENMORNT LIEUTENANT WT HOrd |

WAS ALSO STARDOM B4. WE PICKED
WH PudttedD HER SHOULDERS

07, KERR Spwiad Leet Me
Vets STREDIWG BA ATRBLE WHOM NURSE SUusen,
WO A SMALL NEEDLE awd LOOKED RT RURSE Suse
HEY TE AR AWD SWULEDe

GQ \T Woe T SWOK DRIES WW THE BOTIOM DE BOM FEET
aL AMES rckGuce Cod YOu FEEL Miss! PLpsKEE Ast Looked KT Wim “nd PAW,

OL PLRURTEE WAS TWEN TREE Th A BOLDIWE TW GET A FORCES

Ware CUT, Gee | |
I> DODO TA WHTHDET, STATED. MIS 1G NERDS RELIGION Ws TS

Cyst TWAT SMT?
DL PUMALEE URS TAKEN Pal PLACED DA K-STREL TRBLS GUMRN Awid
SRAVPAD Diu AWD Wis Were WAS CON,
IDL. WE WAS TBS TKS AND Gia A STATE 1
OKT CERS WADE LOTS OF RaAtinlLd DISCRIMWATWE ADKES -
IDA, PLAWUEES FACE “5 STL SuDLLEd H.DAUS AFTER Wis FIRST

Vy WeWRE, WHERE THE

OSA.

Li.)
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DL PLATTE COLES MRS OMEURNERS AMD DieOe Ste CACL

REAMRSTS TW NURSES PERSBWALLY Wh THEIR Yadtbs Th Bed see FOL UES

WUE | .
16S. WE VAD BEEN AUFTERING Fo MOTHS BE COACUSSION LIK

SUMPTIMS , SENSE DAC Wls SPATS EURRY WHERE at TOMS, THTENSE NRUSER AND
WRNAC HES, CONTUSION WPA DIZZINESS THAT LAST Fut Wout, kb LOST ALOT
DE Wert Wi Tineke W Uis LEFT BRR TUAT DEFENDANT ENDELADE, KilK

vba id.
(O&O TUS DATE WE Do 3, 2007, PumATEr wes Tord Ye MAD Td
Be TW) THE NSNOSTMENT COMMITTEE Th term Wis DIACIPLInARt TICKET,

\WT.UE LEWRNED Wd Wis CHL IT HRD BEEN SHOOK Down, HfS GUIMACES
bores be CtlewteS HRD BEEN COAEISCATED, UL Rake HEFICER Answ MCCALEB,
WHERE URS Lis G2teAYWLES®

De MER SUED We GRTENRNTES " PLATMIIPE “Wee WRU D
DyER TD Ws SHEL BUNK AMD Sead A TER OF Food THAT UkedD A MILE FATE

Drew ow v7. ; .
int, WHEN MY DPeweD I, TURD BEEN UCALTED tN,

“@N\py Your FID TUNso!”
(0 DUES STRTEDEL CAT WERK YOU" SO pustinntiee Come ae ee
sate. AW Wie De PID FAK FOR AHATUeT TWA DF FOOD DERMET | "Yann
Dinettes FACE Tutover WHY CARLA WW Wo TOT eet nek OF TUM
| , > 3 \uwe BD & Eres ;
\L SOME TEMS AROUND LATE 300. HAD

Aewhee WeS BA Wis TAY Dus VW SUIS WERT REWe Sb ACT. ceLL
aio ELECTRICRt4 OUTLET TO PLUG WS THE FAN.
WLEDEFTCER KH ARIS THEY Lauter Aud MADE A\OKES BOUT
Gr Derlo DAYS WHERE LT LAS DVEX \OD DUTSIDE,
WA. DU DRY THE TIREM PERATURES WAS Wear ORL [bd DEGREES;
PLATNITE PASSED OUTARD WEKE UP WY A BLOODY NDSE AWD SWEATS WARD,
WY RERUESTAD RWWUSE bY DocTde WD THE AEE TCR: BUT

mec aLeB gard

 
 
 

WD OWE SAME. 4
- NS AWE TOW Wear BAN So WoT Adware Named Wicherl A:
VEREERSOWTRED ERGWM OFETLRS BaOvivte WM Turtle DEE His WATER PWD WB

MEDILL PERSONNEL AT MaARO NOL MTN TW Wid nsxoZIeS, DR DON OMEWIWG

THEM
\o Sh SIPEL Dose CUCK Hole WECE OPEART OW ALL Doss BOY

PLES

a)
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LWT ARHE DaBeuTS CALEB, Sup Dubieeki, Gave WWE PLAAMIFE
We Coa) cle, Gent PLYDATE seme MED? AND StRTED' TL THooGtHtt (OU eb
COOLS USE “WPS WEDS MGM AS UAL TRKE THEM MOL THEY WILL KILL Liu 2!

(IB. OW TMB DATE HE TOL4 4.2077, PLADMIFE WUD OFEICER BRumLeve,
WI UR WAS Geilo OW A HuotoBR STRIKE Th PROTEST Bis PHYSICAL AWD
PSHCUALDOLERL RRUSE BY WEMRDS OEFICALS HE WouLd NoT eT AWY FOUD OK
PRANK MOY LAbVID TILL SOME TUNG WAS DONE To BETIRZ Whe StuAtion,

\\. BROMLEN, SWI. Lunas ost OouT Wd GWE Xou AWAY
TWVRL, UM NOT DELWWE MWY PAPER WORK OR TEHLLDI MSY pans SHO"! PD Gaus Wis
TRAY To AWDTHET. INMATE,

AD. ON OLY \8,2D07, PLATNTIFE WAS MODS ADT OF CELLED? Ads
PUT bree WW CELUI RDA WHERE TE LIGHTS NAR GOS OFF, |

VAL. DEFERDAWT DULWIMEM UW PLUGED THE PLADATFFS Fed kW
TUBNED BEE BAS CUS WTER AD GAVE Biv EMPTY TRAYS OF FOOD ON THA TTTES

BEAL. (B.,AK AG, AW, NER WE SWP COUNTING, oe
109. ON WE DaTE oF TOM WOT. THE PLATATRE WeIT DA

WAR, MKT PASS WHEE WE URS wat bc, Wtben TRCQUELADE L¥STLBREMC,
nutty RAND Meor CAME TS -
WS. SWE URS TRURDG “To A DFFILER AebuT Som Wie Lure WROSES
WIM We NET, SHE SEOd THE PLADNTLFE AID STRTED “os piMest DIDHT NOWE
™ 4p Lope WAGE wTTe Howe NEW Wate COT MIS 1S MaWete.>
ALL DE YUE LAW SUITS NOT UNPPENWG WERE Hows Your CELL pt ENDUGY FOR

Uy, Loawweb WA MER Vb TKK KEK Goo») CAV OF WU! a
eaty WCLALER. STATED. WES Wd GOUT? UANDS We GOT Hom.
VAS. OW JOLA 2B.AGW, PLATTE Pad A LEGAL, Arice WHE CHLL

THE CALL WE as PLACED WA CHES cELL WWE LOPTING To BE ESCORTED BALK 'Té
WAS CELL. |
Qe. DEFENDANT ILE BRUM LEVE, Came TS SD ADD Wim AD Cort uP’
BVOWEE PVT CURES ow Wint Wour HEUD Wis We
VWbS PLANTER Wks UIALKWG BRumLnn Wb BEUED Hoa SLAPPED
Hiv Da THe RUT Se OF Wis FACE AWD low. .
DS. PUSATLEE FELL TD Wis KEES Beunmlevy STE.’ GET Yo 20594
PAS UWP GRATE MEN lowes RuRtvaTFe “Wa Wis Stomach.
4 PLvinticee Fock WAS swelley, Sd UB TeavestkD tb see A woené
BT NHS Come th ake Wow,

(3-)
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\Ad, SOME TIME LATER NURSE KBEWA EQQELAGE, UAS LANAI & PASS YE
SAW VEL MD ASKED COULD Gwe LOGE AT Ui, SUB RED Ui NAME pW WHR He
TD VER SWE SYPTED SL DONT WEL? YouR Kiwd”:
\3\ NURSE. REEMA IS SbME WO RELATED TR DETENDAIST WNESLEM CNERLABE,
/ NASD LACUTEN TANT SUSTIN ERGELAGS WH CAME “Wh PIMWITIEES DAR MED WeeateH Wim
> AML FULL UP RORY “IM GO “TW KAL Yous Yod GOT WHAT” &.
AWE SLAIEE Had WOT LEFT Wis CELL RETER THE Sul AR LGV,
SSAULT,WE WAS CALLED To SPeRK To AM “T/A Women WHO TLD im Kwa tu AE
MAD RAGKUT WUE Bates Bey THis 1S MENARD YU Nee D Th GET tT Ws PROGR TT
EMRACULATES Mow! ;
VSS. THE FOULQWNG DEFICERS, SERGEANT LANSDEA BERG  SELCRRNT QONRS,
QURRDS WESLEM ENGEWIGE TOR NOTRE ; Doin, BEtkeER, GAEL Wood Ke BeumMLevy,
HONE BEEN COMIWG PASS DLAOMIEES CELL DER STATIS TOUNSOR WAI LD PUSS ASS
\NANT COME OUT WUE CLL FOR YARD DR PASSES, ARE AOU Stwreys Sints YO Puss
nes WONT COM OUT WERE Comb SAW GET You DY SHAKE Dou; fe XO SIT ASS
TRY Th KET DAME PUNE TH TELL WE GOR BET TOV dA Tere WR GOW GBT Lous
{DUR DAME CLAUC Bod. APG NEED A CLDLS “ho wWeRE "TD KEEP bP Witt THE Woe
PAUSE AVR “Time Vo COMWGE Sdn .
BY WHEN TRE OFFERS ARE PASSANG HOT FOOD be tums UP THE
GREP TE RUE THRPATERIWS PHD WARASS PL\ITTEE WAT TATUM TDATION
5 DA THE DATE BE SEPTEMBER O17, DEEIERR WESLEY EWSELA EE,
SOD “Wo ELOKT PLALNAFES CELL AWD CORTE, ADUSOM HDUR A FUTKING COUSNED.
You THREW SAT OW ME AD WL YOU. BET YOoR ASS KieKED YOU LWT TD Kus AWD
ALO TLL DONT OWE A DAME AGHUT LOUK Tyo LAWYER oe Wes THE VERT
ANE YOU TRY WO TEAL WE Ll BE WNT Wes Ybu GOT AWAY THE LAST The
3b, BRomlens WALKED UP LATER WE SAME DAM AWD STRAT EDVL
WERD YOUR TRUK KomtN, YOU stil Wave Set LEATNED “Louk Lesson" THe
OLRWNTE FLED bLiamAWieS DEX WAU TWESE ISSURS ARDS He RAVE WON
LEWD PW CeSPONBE NET.
137.0 THE DME OF SEPTEMBER. SO/R0(7, DEFEMDA WT SER UEANY Anwes,
LPS WRG WARDS WHEN PLANTEE WHASOS, STDY Win Awd $BKED Tor & MED TRA
“pes sepTED DRE A SICK CALL Shp YO KuDid WO TT @S, LOOT Gots THB DUN
CADE NORTE AM WRU) PUADTFE BSKED THEIL WHAT? owes STTED Wwe GRRE
OWL, DREUT WOU AWD WHAT YD BEEW Doin AWE GDN SEND YOU TACK uP Worl
ah MOOR LMTLE FRIENDS LOOKIKG TeWL WIC Wo TONS aad TLL THe MAT"

  

(Wa)
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SSO Sebeweee Tb, PLALATEE UNS Geol EMPTO TRAYS Ont

“WE (7 SHIFT Onl SHILET. ON THE U7 SHIFT SERGEANT Harris. DIDNT BVE Ha
A TRAY AT ALL. Ue STATED TL us TOU) “Td SCAR You”

3. PLAINTIFF UMS So HuNer : fa PL ‘
WATER MAT Th GA THE GALLERY. HES Filed coal isin tos Danae weet
THIS WHERENN AND NDRDE BF “MEW HAD BEEK ANSWERED be ACK Worst D&C.
| ; M0. O8 THe Dane DF DCTORER A6.3007, DEFIZE KTR RUMLeVs, AWD
AHAMDWIEY , WERE KEUNG MS PAIWNEFS NEIGHBOR From A LeGal CALL, WHEW
See ase vu ide Nh PITORWE CALL TDO WWE BOT A BAG OF
SP ONS AE DU 6b BRE MOU GONG! PLATTE STATED: Wo'! Btu lew
Neo YOUT GETIWGS IT? PLARUIEE MADE A ArEfDoAUSS To THis Bs ATTACHED
| ALD TO THe THRERTS Aw PETALIBTION Used BY MAMTDS PREOA
DREILRLS ‘ME PLAAALFE WIeSED ATTOVGEY CALLS OA THE DATES DF OCTOBER 26.9012
TRNUARY L0H, KD FERRUARY BIDS |
Y2.bN THE Dete OF WAN UAC 17.2 DIZ, SeRGEMUT Linda Beeb Wd TS
ee A'DEFENDANT Ws MODs AWWA DUT OE CEL FoR THIS, InmaTe Spare
WAT He Wins WW FERR DE GETING ASsAUCTeD AGAIN BY DEFICeERS TE HE CAM OUT DE
WS CELLS LADEN BERG, SIRCTED Th USE INTIMIDRTING LAWEUAE Thurs TIS
IMRT PLADMITE oreTeD! You Kn WHAT Move DoS AIT RieXtT”
3, Us MUG BETS, STRIVD.Wvwsoed Whaks HE CANT BE Tooctlels
Dw Ww THESE Furkinse CAMERS BUT TUCK Wim AWD THest LAMERS We HAS TD COM
DIT PRKL SOON AWD GALE DLAMATEE WWE WODLE Finger pew THE CAMETA- BY
+Uls ALL WAPPENING OW CRMETA WE Filep & Otlevwre Th THE WATDELS BFE ILE
PUD Divert lt Ww We ADMINISTRATION Keuhiw BOARD, AWD HAS NBT PRZEWED Ki
LRSPONSE | a
Wau Oy THE DATE GE FERRUALY 219016, THE PLAWEE Le
SEEDED Td BE RLLENSED FROM SECTL Hdtiod ACTER 4 MOKTHS STRAIEMT OF
SEERPOA WO, WHEN DEFERDAW Sun MLAB, CAME To THE DOOR AWD spt" 0K
TOS TODAY IS HOUR DAY? PLRATLEF ASKED 1S Seet THNG bod’ 2 MECHLEt
sop “IS 1S MENRED “YOu HAVE TO WATLH TOUR BACK BRE DAM PLL vat -
PLMWMEE ASKET! Cand WE QUST LEAVE THAT Mune MECWLEB- STRATED: ALY ADIT ME cane,
ABINEE STATED. LMA SUST Lerust HOUSE
\ INS. NebAle® LEVANED STATING’ “way Wad To WERE You LP FOR A
CUCTRIN Stray CO-CORSVIRED BA THES CEB CATED WEACTIOS THATS 60 DAYS
TM SeGVeoATION . 4
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\LEXWAD STON OF LEGAL
REMEDIES

WWo. PURIATET. WAS USED RLU MGAILARLE BRlevMiute Procebors
AT ROTA SIRTEVALLE Bat MEARE ConVETMONS. TRY To SOE HIS PROBLEMS ,
THE DEXENDAMTS Awd DEEICIXLS BT MENATD Howe Strip Wi OF AMAT TUGstT TO
EXUMUST BA WOT PROCES We Wis Griewwes . We WAS GAHAUSTED GRiEVAWTRS
TART DETERDAATS TOMA BALDUAN » JAacaueliw’e Last Brose, AWD BRD. PRSTEL,
WATE ALL SIGHED DEF OM DERLASTS WH CLAIMS RRISED DMIs COMPLACET. As
STEED MOST PeTAeTiod HATE NBT Bees KESPOWD WD: ATTACHED BRUCBITS

Vi. LEGAL Claims

 

VHT, DEFEND ELT WIRED RANDY PESTER, ACIISS WELE DELIBERATS
ANSIEFER ANT RATHER THEN SIMPLY TNCOMPETENT, TTS DiRettld CAUSED \WvLATN
DE PLANER EIGHTH AMEMDMEWT RIGHT TD THE DNITED STATES CONSTITUTION TO
QE FRE DE CRBEL Abd LNOSORL Poni MENT, WICH HAS BAUSETD Pads RASDS
SOrre acto, PRYSIONL {WAURY AWD EMOTIONAL DATRESS BY PRISON OFF (CALS AT
METAS CORRBETIOIS.
4%, DEFEMDAN WRTDEN RAWDY PFISTER, ACTIONS OF DELIBERATE
TUWITFEREMRE MAS BROUEUT ‘DEPNATION OF PLATIFFS KeLicious Liperty , bY
By \WR OE Aes DEPRRTMBNY BF PORLELMORS SoomMine POLICIES THAT
PAUSED AEOTLED WAT CUT THAT VIOLATED WE PLAnUTIveS Ceniss Unbee THs
FELAGLDVS LAWD VSR RAD AWSTATUTIOSRLIZED PERSDW ACT CR LO LY, RA AWD
CAQSED EMSTIORAL DISTRESS. — ; |
\4e1, DEFENDANT mie bh Spun Batis me wee eR.
TW WET DE CORLELTIONS. HE 1S DIRECILA RESP
Me 3 a tur mate THAT Hass AWD STULL LONTIMUALS Vb NAGUATES \WeS
SLATES RAGKTS “To RELIGINOS UUBERTY, BH THSCRIWSAT SG GLOWING
OMICS THATS WeTINGE ARID WOLATED PUNWHEFS Biatys WwbeR TMS RELL 6Ib0S
LARD DOE RA ARS TW OTIONRLIZED PERSON ACT. ERL ADL.P.A). wed WAS
PAUSED PUGEtIE “Ih SUFFER CRLEL AWD USUSULL PoristmMe wT THROUGH A
Forced Wee CUTs WALE NUDE OW A SIEEL TWSLE -ARD DIED ABOSWE WEATMENT
QGEDR BW We DetewdmuTS LOFELCHALS RY MENACD CSRECTIDIS, TUNIS SURIECTED
PO GQrkeE Th TWIEWTiowAL “IWELACTION DE EMOTIONAL DisttesS -
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\Sd. DEFERDAWY ADA BALDWIN, 19 RESRAUSLALE For A SKOOMING
POLICY TMATS RACIALLY DackiwMineliNG BH SEGREGATIts INMATES WHD REEUSE TA
CAT THEIR WN Woe Th EI RELIGIOUS REEFS, KD FORCiWe WEN Tb ®E Tied
NWN BA AGCKESS WIE DRANGE CROSH DEFICERS AS We PUAIWTIEE WAS BEEN THE
VACKA OF. THIS POLICY DIRECTLY TARGETS ALL BROTRERR TRUS AMD FOLLBUSERS SE

ae BURL COLTRAL OK RE GIGWA, WAG WduLh DRAKE VOWS DR BURDENED TYRE,
BA EXERCISE DE RELIGION, MS LT LAS ddd COW oalL TD THE PLAINTITE TWAS

Povie ALS TARGETS AND DISCRIMIWATES RokST MODRISH AMERTLANS, AWD ACL
BUCK AETICAR DESCENTS DEFENDANT JBYR BaLDWid, Gteominie POLICY Has
COURSED PLATTE Th SUFFER RACIAL DacRimiWaTion AD VWIOLATES His RIGHTS
Th THE EQUKL PREECTION Clausé.

 

\S\ DEFEWDALG oud BALDWAN, BENG KWDWLEDGERELE He THE

RBUSIVE CONDUCT AND MISTREATMENT THAT PLAUWTIEE HAS And STILL ts SURED
TO COMIWMUDUSLY BY MENRRDS PRISGH OFFICIALS TWROOGH Forms ar RETA LIAT id
AND FMUNG Th CORRECT AMD PROTECT, MAKES Wim LEGRLLA LIRBLE BY Bis

RETIOWS DE NELIRERATE IND VEPERENCE 1 WHE Penne 1S SUTFERING From THE

TINSTENTIONAL ANFLICT Ion DE EMOTIONAL DiStieess AND VIGLIIEDS His BGT
RWMENDMENT .

152 DMEFEWDANT Jac Querine LASMBROOK BA THREATENING PLAIN EF
THAT “Wis AS MENARD. PIL DF YOUR LAW sits NOT HAPPEWIKG Heer AS SEEW
BY Enters # Wen PrEM PTS AND GHHERS Th HINDER AND ABIET PLAINTIFE'S
ATRMOTS TD GET HELP FoR His ABUSWE TREAT MANSY TY THE HANS OF DEFEND
LASUBRBIK AWD WEK PRISON STRET. SHE STATED 1S You? CELL UbY EWGUDH FOR
YO LW WY MEW WD TREE Cex GODD CAE OF YOU With makes: Hur LEGYLLY
LQAALE FoR WE CRIEL AWD UbUSUAL PUuNISMeWNT PUMICE Uns BEEN
SUBSELTED Vo, WAT HAS CRUSED Wom Pain Rds SOFFERIWE PRYSICKL tidoRies
AWD THTEWTIONL ANFLICTIEN BE EMOLOWAL DISTRESS . SHE Is DYREZTLY
RESPONSIBLE EDR DRDERING TE BEATINGS AWD ABUSIVE TREATMAKT He HAS

SUFFERED, AS SeEW IN THE RTIRC HED EM BIT( | AFE(DAVIT GF KENTES WEST,

WHERE SHE TELLS MW OR CARTER TMAKE Sure THAT THE PLYAMIIFE UNDE? STD 5
THAT WONT Re TDLERATED ONCE AL Levve! PLMWTTEF Was, THEN TAK Pau
KSSPULTED

\53, DEFEWDAWY beth CATER, A LATAD PLANTERS, ROHTS ONDER

“WE REUGibUs LAD DSE Mey “Wsr Koon Lie PERS,

W ACT RAL.
GRNEKING A FORCED WAR COT, ATER, Am [RLUALT PS, FoR

SHH PLANT E EXPLATWED 1s NeteybdAter
DE Wiss RELIGIDN Bary rtp) OA SATER aL Hoe as\onss -

ISH DEFENDANT TbUn CARTER, Visolatep Plain Lees iets ib
Ett AMEMINARACT, BY KW owls (MAT TMi v

 

WE
LANTIEC UNS RADUT Th BE SUBISCTED

( \7)
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WG ESS WIS FORCE BY WERDEN LASH BRGUKS, ORDERS, AND FILING 1b CORRECT THs

WISEOADUCT. BUT ERFDRCIG TS COWTINWATIONS SF ABoSEE CELL Coitbitlowss Amd

ASDA S WACK HAS CAUSED PLAINTIFF PRA, SuRFERLUG, PHYSICAL TWluetes /AWD
WWTENTIONAL INFLIETION OF EMDTIONDL DISTRESS.

199 DEFERDANT LSU TENAWT WHTHOTT AUIGURTED PLAINTFES E1GHTH
RINENDINEWT AWO(R.L.O LPO) BY FORCG AMAR CUT UPB HIM WHA Kode.

AWD WATEHeD PS Tact TEAM DEFERDAIT WoDiWaKL MWD OTHERS KICKED And

OYWHED WEM 8S AWRY EXTRACTED Wim OW AuWwe 26.9607, WHICH UBS ExcREsivd
FORCE,

196. DEERD ANT WHTHHBFT. WibUATED PLAWTIEF ELQMTH AMENDMENT BY WIS
PERSDRALAN SE OF EXCESS SWE FORCE WHEN POKING PUMA TLEF iW THE BOTIOM OF
BOW FRET “Wd THE HEALTH CARE UNIT CAGSING PR, SUFFER IAS, ASD INTENT TOKNAL.
ANTLUCTION DE EMSTOMAL DIGRESS |

\S7, DEFENDANT SERGEANT Lysden ERG, USED EXCESSIVE FORCE
BY RCANG PwotosG, AAD AWEEIAG PLALRIEE WM SEVERAL BTHER AFFIceRS, WHEN
PUSMTAEE WRS WOT BEING WaVurPive DK COMBATIVS WHEE HAND CUFFED Aub
SHACKLED ,LIADEWEERG AETICONS WADLATED PLAINTIFES WGUTS UNdeR THE EiGuTH
AMEADMENT DE THE 04, CLASTHURTION ASD CAUSED Him Pains AWD SUFFERING
PHYA ITED MOD IVTENROOAL WELCTICN BE eMpTloNAL Distress,

157 DEPENDANT LANDERRER Cs NIGLATED PLAINTIFES RIGHT To THE

EVGA amoanments bE CROEL AND UNUSORL PUNISMANENT BY ABUSE CELL
COwbdtiion 5, THAT CRUSED THE PLANITFF TO LASSE OVER US PROWNS, AWD SLEBP

NYSE Bl Wis CeLL EOLZ FOU MEWTHS, CAUSING WleWT OAL WEL CGH DE EMor low ALL
DaStRess.

ISO WEXEWDANT MATOR CHAD HASS ELMEMER MIWOLATED PLA ANGEFS RIGHTS
Th WE EAXGMTW AMEWDMENT OY CRUEL AWD UNUSUAL PUNISHMENT: BA CRDERIN TACT

TEAM 1G USE URNEZESSARY EXCESS WE FORCE, THAT CAUSED A WEALING WO WE PLATNITFES
FACE, AWD BODY. kiWwD CWPEATAOAL INFLACT AGS BE EMOTIONAL Di IRESS

IS DETERDART SERLE ANT ONES MUSED EXCESSNY FORCE ROAST
PAVE BY PUR HING, KicKlisds Ab Het Win WiTH SEVERAL GER OFEICERS.
WHC NOLRTETS PLRANEES Titetits UCR HE FLGUTH AMeasoMeNT AwD CAacseD Him
TO SUFFER PHYMCYL WieRles AWD WIENTIONAL INELICTIO AE EMeriowa. DETReSS,
Ib DEFENDANT KYLE BREMLEVe, USED EXCESS SVE LOU REN ST
AE PLANER ON THE Dee OF AuWwe 42.: Abt, BY PowtuinG, kK (KING, AND KWEElUGS

HOM wt SEVEKL OTHER DEFICARRS WICH VLU PUN WIFE S ROUT wt TRE
ERGY, NVEN DIMEN AWD CAUSED PAL SUEFERING PHYS

CYL. WWaUete’s Awd In
WWELUER On DE EMT ole t DINVILESS, ITE onder

{1%
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lol DEFEMDRWT KYLE BRUMLEVE USED EXCESSIVE FORCE ROMIWSY

PLEIWILEE AFTER. His JELEPH be CALL WITH WIS ATIORNEY ON THE DATE OF A aR,

QO, SLAPPIWG Win “TY Me FACE Asp celine Wim & Otte THEN KNEE WG Wim Ts
WE STOMACH FOR COMMUIRACTING WNTH Wis NUL SRAM WLI OUTED PLATTETS

Hout AMENDMENT RGHT AWD Caused Him TS SutFeR PAA PHdNICAL ‘ (WAUIZTeS,
AX THE TWeNTIDWAL THELACTION OF EMBtionwe. DESTRESS ,

(Gk. DETENDRET KYLE RRUMLEVE, USED EXLCESSiVE Forte AGA WSY
PLAINTIFF As WABLAED His RibtlY To THE ELGHTH AMeWwDMENT BY ARRSIVE CELL
CONDTM MONS. WOT FERNS Win Mewes FORCING Him io Str ‘A CELL Gt BOT
RUNMING WATER 0% BEDDING, CROSING Wink INTENTIGWAL INELICTIONS OF
EMOTICMAL DISTRESS,

IBS DEFEXDANT QUA WCLNLER, Used EXCESSIVE FoRCE OW THE DATE
DF Juwe VAA01, peoiwst PLAIN FE PM PUNT they KicKaits, KD KNEE WG Him with
SEVERAL OTHER BEEILERS WOUATED PUMISTIFES RGHTS UNDER THE EIGHTH
irae Pod CAUSED TWE We Tio YL TRA “INE L Thad CF EMoetrowa

STRESS,

 

\bH, DEFENDANT TORK MCEALeB VGLATED PLYINTIFES RIGHTS UNDER

THE ELOHTH RMMEMDWENT 84 ABUSIVE CELL COODITIOAS, NOT Feeding Him Meats Wicd

CAOSED Wim Yo LOSE oueR Mb PUN DS AD Forint. tm “Tb SLEEP NUDE On HS
CELL ELBBZ . DITTH ND WOW huts WORE eR BEDUiwc.. PRUsTuC. WTERTIONL WEL iA)

DE EMEVIGUAL DieTKES

5. DET ENDANY WESLEY ENGELAGE USED EXCESS Wil FOLEE ROAST
PUAWER AM PUuntitinGe Kick, AND KNEE HOW, WIT SERPAL OTHER OFFICERS
Ho\Rie PLAS FES RIGHTS Duden THE CLOUTH AMENDMENT RRS (aUSED THE
WIENTIONRL IWELIARON DE EMT (OOWL DiSTRESS,

ib. DEFEWDAWT WESLEY EWGELAGE, WOLATED PURLRFES TAGHTS UNDER
THE E\tettH hole dmew BA ABLSWE CELL Cow T tess, Nitty FEED Wes Hint MEALS THAT
CAUSED Hin To LOSE OVER YO Bouw dS WD Eozee bi MAb suKEe Wube GA is 1S C&LL
FLOR, WATH We BRUNKE. WaTeR OR REDDOIG, CAUNI hilo WTEM Ge “Wie LievieS
FE MOV ONAL DISTRESS,

LeT DEFEWDAKY BreeeR GCIFELAL, VIDURTER PLiaWrterss RIGHTS UNSER
THE EIGHT Mie DMeWT BY BBLS CELL ¢ GA TibwSs. NOT Fees Wim mers MAT
CRUSED Him WD LOSE DER Hb Piuwho ww’ Foreise. i M Ib SLEEP Wy WE OAS tts

CELL FLUE, Wirt WE KUN ik WRK BENDING, ffuSiud | WHEW OWL UNWELL TILL
OF EMD kl DisieeS

( \4,\
see Ve WeHE AMY OFFER, DODWSEL, USED EXCESS FORCE, ROAINIST
PLRITIFE ON THE DATE OF SUE Ab-2077, AS A TRCT TERM OFFicCew DERG. A
CEL OMTRACT Ista OW THE PLATE AS WE KNRED RWS Punt Wh, CAUSIAG
ME WHENTIONAL WWEUCTIOS DE EMAOTOSAL DSTLESS,
LEE. NEFER AW DEE TCRRD DUDS, MOLATYD PLBLALFES RiGT To
UE CIGATH RWEX DMT. ON THE Dave DE Wet 3.0077, WHEN He SP iT W WE

Pinte eS, FACE PETE. He AND THE DEFEWDRRY AKA MWtraLleB, VSD WWHomane

AHerioe Ww PLUaTeeS Ter BE Foub.

To DEFEROANY DEFEIZER DUDS, MIGRATED PLATNTIFES RioHTS To
THE EXGMTY AMEND MEST BY ABLE CLL teWDiT\ ONS, NOT FEEDING Utm
NEMS TART CAUSED BOM Th Lose te 46 Pours. ANF Chin HOM TO
amep ude OW Wis CeLL FLEGR. WH NG Ruwive WATETC OIC BEDDOW lo,
Pests WEN TIOW ML AWELICTION OF EMETIEN AL VSTRESS .

TI DEFEN NENT DOLRIHEM, VIOLATED PURINTUFES RieHtTS Ts Me
E\GuTHt hMentdMeny, BY Reuse CELL COMO OS, NUT EERDIWS Wom MERLS
auat CauseD Wim Wb Lose VER MO PEYSS, AWS FORChat HIM Ib SLEEP Wes Si)
TE CELL ELOGR WH WO tua WATER OR BEDDING, CAUSONG TEMA Vb
WELACTiowd OF EMM ONAL DETRESD.

(7, DEPEND Aw 'T SERB, SSM WOE. DEFICER RL NATED

DIMERS RIGHTS WD THE EIGHTY AMEWDMENT SN eve Pune\iiite, Aa eae
QTE Wnt WOU SRVERRL UTE DFETCERS; CAUSING THE ANTENTIOWAL “WELK Mod
NE TMombukl Werress. OW THE DaTE DE Auey 29,3617,

73), DEFEND DOUN DUE OFELCER RD WibLATED PLaTiFeS RIGHTS
TO THE RIGHTH AMENDMENT, BY KickuiG PUNCHING AND KNEEWG Wim Wi
CATR. OVHET. DETCERS: CAUSING THE VENTIONAL IWELicTiod BF EM bTiboA Choreess
OW WE Det. BY “uWwe ad. 201. -

(TH. DEFOWDANT WEN Doe TACT Team ALON THE DATE DF Vue 33,260),
VEDUATED PUNATS RIGHTS TS THE ELOHTA AMENDMENT, BY Kickutle Pucks filo AWD
KWweeiWwoe Won wiht See OTHER DERCERS CAUSING WE Dredtor “ELECTION OF
EMOM LIL DICIRESS .

17S. DEFENDANT “Tou bow TACT VER #2.08 THE DATE BF UBMs 23,061?
VinLAPeS PLALMITES UGUTS TW WE CLOUT AMENDMENT, BYU Kicks, Puncthfude, AD
kweehib Wim ult Several GOMER DFFITERS, CAU Stu THE SEN Towa
Q retour OF EMotiount Distress.

\To, DEREWDANT “Aodia Doe Tht T TEAM 462 ON THe DATE OF TUNE 23 2087,
VWWUTED PUMUTIF ES RiGMTS Th HE TIGHTH AMENDIAENT. BH KICKING . PUNT HIG, And
KWEvb Wim WIM SETAL OER DEFICERS CAUSING THE WWIENTIONAL (wricTias OF

EMOLIOWAL MESTRESS ,

    

 

(20 )
8 ASE SESTTODEREN DIL AUAK KLE ANCL TEMA OTHE DATE OE JUNE 23,
AVL NAGURTED “PLURUNIAFES RIGHTS Te THE EXGHTH RAREODOMENT. BN Kitt,
PIS sie, AAD KREG AEM WIM SEVERAL OTHER DEECERS CauSinG THE
WENO LF Lieto) DE EMbT oa WIRES,

V1 DETEWDAWT Medical Deeector STOW, VIOLATED PLAIAAVFES
AGMTS 1b “ME LGM AMENDMENT, BY HIS DECISION Th lestRE THE PLADAVFES
LOMPLALITS AWD NOT DLCOMMST WSs Wives DeFewDawss ALTOGSS WERE
BT BAD BU MEDLCAL Jo DOMENY, QuT RATHER INDIFFERENCE, RATHER? THER
AMPLY US LOMPETENT. CAUSING IWTENTIONAL INFLICT ood DE EMET ast INsiReS5.

\T9. DEFEWDIIT NURSE SoSH VIOLATED PLAIMIEES RIGHTS To WHE
EXOHTH AMENDIMRWT) BY BER DEOSIOA TO REeTALVATE AGAINST “PLT TIT E Aw
JONURE THE PLASTNTS COMPLATHTS, HD NOT DotumewT Teall PLATES
WAUZIES PAUSLIG DYTRWT Lowel EL Ct lad DE EMUTIDIL DISTRESS.

\B6. DEFEXDANT NVRSE Teevl ENCE LAGE, VILLATED PLAIKU FES
RGIS “Th THE EIGHTH AMEN DMewy , BY LER DECISIos TR KETALIATE AGAINST
PUNUSIAFE AWD \GWORE THE PUADTIFFS COMPLRLATS ALD WET DOCUMENT Mis
WWAURLES, CAUSIGS TLTRIT LOL TATCEC Tis DE EMT oda DisTeSd.

D1, PLALAIPE Yaes Towestu, WAS NO PUA ADEQUATE OR COMPLETE
REMEDY RY LAW “TD REDUESS THE WRouETS DESCRIBED, Heweul PLAONIFF HAS
BEEN ALD WILL COM ave To BE WRREPARARUE Wale BY THE COnDUT OT
THE DEFEMDALTS WNLESS THis COURT GRANTS THE DECLARATORA AWD Vedula
REATE WHICH PLRTUTIFF SEEKS.

NIL. PRAYER. FOR RELTEE

(EAWRETE FORE, PLALIER RESPETTIULLY PRAYS THAT TS
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(BA, GRANTING PLRANLEFS DECLARATION TWAT THE RCTS ANTS |
PASSIONS DEACRABED WeReud WIGLATED WAS RIGHTS UNDER THE COWS i)
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{QU N PERMANET Vwaunttion BeberinGs WHE PLATES TRASFCR
Dor WME PUYSILAL VIOLENCE AND ABLSWE PRiSo EOOTONS We ACES
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\iS, GUAW TING PLATE COMPENSRIVRY DAMRGES Tw WE RLU KY

KE ATS .bdd ROMAST ERCH DEFEWDI {OWT Rad SEVERALLM » ASD
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LOT. PLBLIMAEE MSG SEEKS A AURYM TRinL ow ALL 1SsuRS
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BS. PLALMIEE ALSE SEEKS RECOVERY CPSTS WS TWIS SUT AWD

LAY WY NUDITIONWL RELIEE THIS CoUTT DEES VOST, PROPER /
PWD EQUITABLE |

DRTE SEPTEMBER 30, QO\%:

RESPELTFULLA SUBMITTED:

JAMES ADMD

BRAS PLO. BOY TL

MERRRD ALAS
bID.5%

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VERLEY TURT THE RTTERS ALLEGED THEREA ARE TROEL LL CERTIEU UvbeR
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